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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


 JASON KESSLER, et al.,

                       Plaintiff,

 v.                                                Civil Action No. 3:18-cv-00107

 CITY OF CHARLOTTESVILLE, et al.,

                       Defendants.


                  DEFENDANT CRANNIS-CURL’S MOTION TO DISMISS

        Defendant Becky Crannis-Curl, by counsel, pursuant to Rule 12(b)(6) of the Federal

 Rules of Civil Procedure, move to dismiss Plaintiffs’ Amended Complaint with prejudice for the

 reasons set forth in the accompanying Memorandum in Support of Motion to Dismiss.

                                            Respectfully Submitted,

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 Samuel T. Towell
 Deputy Attorney General

 Tara Lynn R. Zurawski
 Senior Assistant Attorney General/Trial Section Chief

                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 19, 2019, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF system, which will send a notification of such filing (NEF)

 to all counsel of record.

                                              /s/ Erin R. McNeill
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